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                             UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA


 JANE DOE, et al                               *       NO. 6:21-cv-00430-DCJ-CBW

 vs.                                           *       JUDGE DAVID C. JOSEPH

 EDOUARD d’ESPALUNGUE                          *       MAGISTRATE JUDGE CAROL
   d’ARROS                                             B. WHITEHURST


                             REQUEST FOR ENTRY OF DEFAULT

         Plaintiffs hereby request the Clerk of Court to enter a default against the defendant,

  Edouard d’Espalungue d’Arros, on the basis that the record in this case demonstrates that there

  has been a failure to plead or otherwise defend as provided by Rule 55(a) of the Federal Rules

  of Civil Procedure. This Request is supported by an Affidavit in Support of Request for Entry

  of Default. After entry of default by the Clerk, plaintiffs will file a Motion for Evidentiary

  Hearing and Entry of Default Judgment.

                                                    Respectfully submitted,

                                                    DOMENGEAUX, WRIGHT, ROY
                                                    & EDWARDS, LLC.
                                                    s/ Elwood C. Stevens, Jr.
                                                    Elwood C. Stevens, Jr. (#12,459)
                                                    Jefferson Towers, Suite 500
                                                    556 Jefferson Street
                                                    Lafayette, LA 70501
                                                    T: (337) 233-3033
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                                                    Email: elwoods@wrightroy.com

                                                    MILDRED E. METHVIN, LLC
                                                    s/ Mildred E. Methvin
                                                    Mildred E. Methvin (#14619) T.A.
                                                    7414 Sardonyx St.
                                                    New Orleans, LA 70124
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                                                      T: 337-501-1055
                                                      F: 888-298-0566
                                                      Email: memethvin@gmail.com

                                                      ATTORNEYS FOR PLAINTIFFS


                                 CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that a copy of Plaintiffs’ Request for Entry of Default and

 Affidavit were sent to Defendant this date by placing a copy of same in the U. S Mail postage

 prepaid and properly addressed to the following two addresses:

 Edouard d’Espalungue d’Arros
 c/o Philippe Arnaud d’Espalungue
 65 Avenue Marceau
 75116 Paris, Ile-de-France
 FRANCE

 Edouard d’Espalungue d’Arros
 10 Plage des Boulistes Canon
 33950 Lège-Cap-Ferret
 FRANCE

        I further certify that copies of the Request for Entry of Default and Affidavit were

 emailed on this the 6th day of July 2022 to two email addresses used in the past by Edouard

 d’Espalungue d’Arros (ed.eda@gmx.com and edouard.dsp@outlook.com) and to Pierre

 Hourcade, an attorney who represented Mr. d’Espalungue in 2020-2021 in connection with Mr.

 d’Espalungue’s claimed inability to return to the United States to face criminal charges, at

 contact@frenchattorney.com.

                                              /s/ Elwood C. Stevens, Jr.




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